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Garland County Circuit Court
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2022-Feb-17 15:43:03
26CV-22-163

 

 

 

IN THE CIRCUIT COURT OF GARLAND COUNTY, ARKANSASEDOT 11 Pages

CIVIL DIVISION
TERESA LYNN WILLIAMS, AS SPECIAL
ADMINISTRATRIX OF THE ESTATES
OF LINDA LEE HALL AND JOHN MAC HALL.
DECEASED PLAINTIFF
VS. No.

ROBERTS TRUCKING. LLC OF NEW ALBANY,
MS: DAVID TYRONE BRAMLIZTT and
JOHN DOES 1-4 DEFLNDANTS
COMPLAINT
Comes Plainuff, Teresa Lynn Williams. as Special Administratrix of the Estates of
Linda Lee Hall and John Mac I lall. deceased, by her attorney, Stephen I. Curry. and states

the following for her Complaint against Defendants Roberts Trucking. LILC of New

Albany, MS, David Tyrone Bramlett and John Does | through 4. states as follows

I.
PARTIES
l. Plaintiff. feresa Lynn Williams, the daughter of Linda Lee Hall and John

Mac Hall, is the duly appointed Special Adiministratrix of the [istate of Linda Lee Hall
pursuant to Garland County Circuit Court. Probate Division, Case No. 26PR-22-110. A
copy of the Order Appointing Special Administratrix filed on February 15, 2022. in this
estate is attached hereto as Exhibit A. The Letters of Administration issued by the Clerk
in this estate. are attached hereto as I:xhibit B.  Plainutf is also appointed Special
Administratrix of the Estate of John Mac Hall pursuant to Garland County Circuit Court,

Probate Division, Case No. 26PR-22-111. A copy of the Order Appointing Special

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Administratrix filed on February 16, 2022. in this estate is attached hereto as Exhibit C.
The Letters of Administration issued by the Clerk in this estate. are attached hereto as
Exhibit D. The referenced probate filings attached as exhibits hereto and are incorporated
and realleged herein.

2. Plainulf brings this claim on behalf of the states of Linda Lee Hall and
John Mac Hall, deceased. pursuant to the Arkansas Survival of Actions Statute (Ark. Code
Ann.§16-62-101) and the Arkansas Wrongful Death Act (Ark. Code Ann. $16-62-102),

3. Linda Lee Hall and John Mac Hall were residents of Garland County.
Arkansas at the time of the accident at issue in this case, and at the time of their ultimate
deaths.

4, Defendant Roberts Trucking. LLC of New Albany, MS (hercinafier
“Roberts Trucking”). is a foreign for-profit limited liability company. registered to do
busincss in Mississippi. and doing business in Arkansas. Defendant's principal place of
business is located at 1203 West Bankhead Street. New Albany, MS 38652.

3. Defendant Roberts Trucking operates as a motor carrier, as defined in the
Federal Motor Carricr Safety Regulations. and has been assigned MC Number 473534,
and USDOT Number 1186417. As such. Defendant Roberts Trucking must comply with
all applicable Federal Motor Carrier Safety Regulations.

6. Defendant Roberts Trucking has filed a BOC-3 Form with the Federal
Motor Carrier Safety Administration pursuant to 49 U.S.C. $1303(a) and §1304(a) and
FMCSA $366.1, ef seq. Pursuant to such filing. Roberts Trucking has designated
Interstate Authority, [LC as its blanket service agent. with David McCreery. 3700

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Cantrell Road. Suite 205, Litle Rock, AR 72202 specified for service for claims in
Arkansas.

7, Upon information and belief. Defendant David Tyrone Bramlett
(hereinafter "Defendant Bramlett”) was at all times relevant a citizen and resident of Blue
Springs. Union Counts, MS. and is believed to reside at 1949 CR 121. Blue Springs. MS
38828

8, Atthe time of the events described herein, Defendant Bramlett was working
within the scope of his employment with Defendant Roberts frucking.

9. Al the ume of the events described herein. Defendant Bramlett was an
employee of Detendant Roberts Trucking as defined by Federal Motor Carrier Safety
Regulation 390.5.

10, Defendants John Does |. 2. 3 and 4 are individuals that negligently operated
and maintained the tractor and trailer owned by Defendant Roberts ‘Trucking and operated
by Defendant Bramlett, and/or individuals that negligently hired. supervised. trained,
educated, set policy. created policies. enforced policies or otherwise directed Defendant
Bramlett and/or any individual that negligently operated the tractor and trailer that hit the
vehicle occupied by Linda fee Hall and John Mac Fall. An Affidavit of Counsel pursuant
to Ark. Code Ann. §16-56-125 is submitted herein.

Il.
JURISDICTION AND VENUE

1]. This is a negligence case which arises trom a motor vehicle collision thal

occurred on February 18, 2019. on Interstate 30 in Hempstead County, Arkansas.

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12. This Court has jurisdiction of the subject matter of this cause of action
pursuant to Ark. Code. Ann. §16-13-201(a),

13. Venue is proper in Garland County Circuit Court pursuant to Ark. Code
Ann. $16-60-101,. which provides that an action for damages for personal injury may be
brought in the county where the person injured resided at the time of the injury.

Hl.
FACTUAL ALLEGATIONS

14. On February 18. John Mae Hall was lawfully operating his 2004 Ford
Expedition vehicle on [-30 in Elempstead County west of the 33 mile marker heading
eastbound. His wile. Linda Lee Hall was a passenger in ychicle.

13. At the same time. Defendant Bramlett was driving a 2014 Freightliner
tractor/ trailer owned by Defendant Roberts Trucking and was likewise heading eastbound
on 1-30 directly behind the Hall vehicle.

16. Defendant Bramlett was. at the time of the incident. performing his duties
for Defendant Roberts Trucking. and was in the course and scope of his
cemploymenVagency with Defendant Roberts Trucking.

17. The tractor’trailer driven by Defendant Bramlett failed to vield to the Hall
vehicle and struck the rear of the Ilall vehicle at a high rate of speed. causing the Hall
vehicle to travel 325 feet on the roadway. and then to exit the roadway and travel another
142 feet where it struck a tree located outside the right-of-way. After this impact with the
Hall vehicle, the tractor-trailer operated by Defendant Bramlett traveled another 415 feet

before coming to a rest facing cust.
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18. The Hall vehicle, and its occupants. suffered a serious impact causing the
vehicle's air bags to deploy. L:mergency responders extricaled the Halls trom the vehicle.
and they were transported to hospitals for emergency care.

19. This accident was investigated by the Arkansas State Police and Defendant
Bramlett was cited for following too close

20. As a result of the incident. the Halls suffered serious and prolonged life-
threatening injuries. Based upon injuries suffered in this incident, John Mac Hall never
recovered and died on April 13.2019, Linda Lee Hall also suffered serious and prolonged
life-threatening injuries from the incident. did not recover. and died on August 31. 2021.

21. The acts of negligence by Defendants caused the incident described herein
and were the proximate cause of the injuries and damages sustained by Linda Lee Hall
and John Mac I Tall. and damages now sought by Plaintiff in this case.

IV.
NEGLIGENCE OF DEFENDANT BRAMLETT

22, Plaintiff hereby restates and realleges cach of the allegations set forth in
paragraphs 1- 2] above.
23. Defendant Bramblett was negligent in the following particulars:

(a) Driving in such a careless manner as to evidence a failure to keep a proper
lookout for other traffic. in violation of Ark. Code Ann. §27-51 -104(a):

tb) Driving in such a careless manner as to evidence a failure to maintain
proper control, in violation of Ark. Code Ann. $27-51-104(a), (b)(6) & (b)(8):

(c) Driving at a speed greater than was reasonable and prudent under the
conditions and having regard to the actual and potential hazards then existing, in
violation of Ark. Code Ann. §27-51-201 (a)(D:
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(d) Operating a vehicle in such a manner which would cause a failure to
maintain control. in violation of Ark. Code Ann, §27-51-104(b)(6):

(e) Driving in a manner that was inattentive and such inattention was not
reasonable and prudent in maintaining vehicular control, in violation of Ark. Code Ann
. §27-51-104(b)(8):

(n) Failing to keep a lookout for other forward vehicles. in violation of the
common law of Arkansas:

(g) Failing to keep the vehicle under control, in violation of the common law
of Arkansas:

thy —- Failing to drive at a speed no greater than was reasonable and prudent
under the circumstances. having due regard for any actual or potential hazards. in
violation of the common law of Arkansas:

(i) Operating a commercial motor vehicle without the required knowledge
and skills to do so safely:

(j) Failing to pay atlention and to recognize a hazard and drive so as to
prevent the hazard from turning into an emergency.

(kK) Otherwise failing to exercise ordinary care under the circumstances.

24. At all relevant times. Defendant Bramlett was a driver or operator of
“commercial motor vehicle” as detined by 49 C.F.R. parts 382 ef seg. of the Federal
Motor Carrier Safety Regulations. The federal regulations imposed certain mandatory
dutics and prohibitions upon Defendants to ensure that in driving a commercial motor
vehicle he conducted himself in a manner that protected public health. safety and welfare.

25. Defendant Bramletut violated the Federal Motor Carrier Safety Regulations.
as adopted by the Arkansas State Ilighway Commission Regulations. including but not

limited to a violation of $392.2 in failing to operate a commercia! vehicle in accordance
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with the laws. ordinances. and regulations of the State of Arkansas as set forth above.

26. A reasonably careful person. operating a commercial motor vehicle under
similar circumstances, would foresee that the failures in duties of care listed above would
result in devastating injuries. including possible death, to other persons traveling on public
highways like Plaintiffs.

27. Asa direct and proximate result of such grossly negligent, willful, wanton.
reckless, malicious and/or intentional conduct. Plaintiff asserts a claim for judgment for
all compensatory and punitive damages against Defendant as alleged hercin.

Y.
NEGLIGENCE OF DEFENDANT ROBERTS TRUCKING

28. Plainufl hereby restates and realleges each of the allegations set forth in
paragraphs 1-27 above.

29, Defendant Bramlett was an employee and/or agent of Defendant Roberts
Trucking at all times relevant to this action pursuant to 49 C.F.R. $390.

30. ‘The negligent acts and omissions of Defendant Bramlctt as alleged herein
are imputed to Defendant Roberts Trucking. as the employer/principal, under the legal
doctrines of respondeat superior, joint enterprise. and/or the principles of agency under
Arkansas law.

31. Defendant Roberts Trucking additionally failed to properly train. monitor
and supervise Defendant Rice in the safe operation of a tractor trailer truck in keeping a
proper lookout for other vehicles and when approaching hazards.

32. As a direct and proximate result of such grossly negligent, willful, wanton,
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reckless. malicious and/or intentional conduct, Plainuff asserts a claim for judgment for
all compensatory and punitive damages against Defendant as alleged herein.
Vi.
WRONGFUL DEATH

33. Paragraphs | through 32 are incorporated by reference herein.

34. ‘This action arises under the common law of the State of Arkansas. and the
Arkansas Wrongful Death Act (Ark. Code Ann. $16-62-102, et seq.) and is brought on
behalf of the statutory heirs of Linda Lee Hall and John Mac Hall. now deceased.

35. ‘The actions and inactions of the Defendants which caused the wrongful
death of Linda Lee Hall and John Mac Mall are as set forth in this Complaint. the content
of which is incorporated hercin by reference.

36, Both Linda Lee Hall and John Mac Ilall suffered personal injury including
excruciating pain and suffering. mental anguish. and emotional distress which caused
their family to suffer more than normal grief during their care and upon their death.
Plaintiff pravs for compensatory damages against Defendants for the wrongful death of
Linda Lee Hall and John Mae Hall. including the vricf suffered. and the expenses of
funeral and other related costs,

37. The damages suffered were all proximately caused by Defendants” acts of

negligence complained of herein.
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VII.
DAMAGES

38. Plaintiff re-alleges and incorporates the allegations in Paragraphs | — 37 arc
incorporated by reference herein

39. Asa direct and proximate result of the negligence. actions and inactions of
Defendants as set out above. Linda Lee Hall and John Mac Hall suffered injuries and
damages including. but not limited to. significant medical expenses. payments lo alternate
caregivers, pain and suffering. hospitalization, emotional distress. disfigurement.
degradation. mental anguish. disability. unnecessary loss of personal dignity. loss of life
and related expenses.

40. Plaintiff seeks compensatory damages against Defendants in an amount lo
be determined by the jury: for an amount in excess of that necessary to establish
jurisdiction under federal diversity statutes: and all other relief to which Plainuff is
entitled.

41. For punitive damages sufficient to punish Defendants for egregious and
malicious misconduct in reckless disregard and conscious indifference to the
consequences to Linda [.ce Hall and John Mac [all and their statutory beneficiaries and
to deter Defendants and others from repeating such misconduct.

42. Asaproximate result of the actions of Detendants. Linda Lee Hall and John
Mac Hall suffered a wrongful and untimely death. ‘Teressa Lynn Williams, as Special
Administratrix of the Estate of Linda l.ce Hall and John Mac Hall. is entitled to damages

on behalf of the Estate for the reasonable value of funeral expenses. medical bills and
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other costs. Additionally. the Lstate is entitled to damages sustained by the statutory heirs
and wrongful death beneficiaries of Linda Lee Hall and John Mac Hall as provided by
law,
43. Plaintiff seeks a trial by jury of all issues triable by a jury.
VUL

PRAYER FOR RELIEF

WHEREFORE . Plaintiff, Teresa Lynn Williams, as Special Administratrix of the
states of Linda Lee Hall and John Mae Hall. and on behalf of the wrongful death
beneficiaries of Linda [ee Hall and John Mac Hall. prays for judgment against
Defendants as follows:

1. For damages in an amount adequate to compensate Plaintiff and the [state
for the injuries and damages sustained. and in an amount in excess of that required for
diversity of citizenship jurisdiction under federal law:

2. For all general. special. compensatory. and punitive damages caused by the

alleged conduct of Defendants:

3. For costs of litigating this case. including attorney fees and costs.
4. For all other relief to which Plainull is entitled.

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Respectlully submitted.

 

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Steplie 1 Chime TAB 84 1)
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Tel: (501) 658-5488
Fax: (866) 913-9863
scurry: @aristotle.net

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IN THE CIRCUIT COURT OF GARLAND COUNTY, ARKANSAS
CIVIL DIVISION

TERESA LYNN WILLIAMS. AS SPECIAL
ADMINISTRATRIX, PLAINTIFF

VS. No.

ROBERTS TRUCKING. LUC OF NEW ALBANY. MS, et al

STATE OF ARKANSAS  )

)

COUNTY OF PULASKI )
AFFIDAVIT OF COUNSEL

Betore the undersigned Notary Public, duly commissioned and acting within the
County and State aforesaid. appeared Stephen L.. Curry, Attorney at Law. who stated the
following under oath:

lam an attorney licensed in the State of Arkansas. [ represent Teresa Lynn
Willams, as Special Administratrix of the Estates of Linda [ee Hall and John Mac Hall.
in her action against Defendants Roberts Trucking, |.1.C of New Albany. MS. David
Tyrone Bramlett and John Does | through 4,

This affidavit is filed in support of the complaint pursuant to Ark. Code Ann. $16-
6-125.

tae

Defendants John Does 1. 2.3 and 4 are individuals that negligently operated and
maintained the tractor and trailer owned by Defendant Roberts Trucking and operated by
Defendant Bramlett. and‘or individuals that negligently hired. supervised. trained,
educated, set policy. created policies. enforced policies or otherwise directed Defendant
Bramlett and/or anv individual that negligently operated the tractor and trailer that hit the
vehicle occupied by Linda [.ce Hall and John Mac Hall.

lt is my belief that there are torifeasors (persons. firms or corporalions) as
described herein whose identity is currently unknown and for which | believe a cause of
action may lie for personal injury which was the proximate cause of the damages of Linda
Lee Hall. John Mae Hall. and the beneficiaries of the Estate. and that the same could not
have reasonable been discovered prior to the filing of the complaint in this matter

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Despite diligent efforts, PlaintifY is currently unable to idenufy any of these
unknown defendants but whose identity may be disclosed upon further investigation. Said
Defendants are named pursuant to Arkansas Code Ann. $16-56-125. as their acts and
omissions Were negligent, tortious or otherwise wrongful with respect to the injuries of
Linda Lee Hall, John Mac Hall, and the beneficiaries of the Estate,

Further affiant sayeth nol

Stephen 1. Currt (ABN 81041)

Attorney for Teresa [.vnn W iliams,
Special Administratrix of the Estate of
Linda I.ee Hall and John Mae Hall

SUBSCRIBED and sworn to me before this 17 Wh das of F oun 32022.

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Sours Catlic

 

     

My Commission lexpires.
° CHRISTINA DOUGLAS
Notary Public-Arkansas
Pulaski County
My Commission Expiras 08-24-2033

Sommissinn #@VIIHS1A

   
